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 1   CHARLES CARREON (CSB # 127139)
 2
     3241 E. Blacklidge Drive
     Tucson, Arizona 85716
 3   Tel: 628-227-4059
     Email: chascarreon@gmail.com
 4
     Attorney for Plaintiffs Arizona Yagé Assembly
 5   and the North American Association of Visionary Churches
 6
                             UNITED STATES DISTRICT COURT
 7
                          NORTHERN DISTRICT OF CALIFORNIA
 8
     ARIZONA YAGÉ ASSEMBLY, and               ) Case No.: 3:20-CV-03098-WHO
 9   NORTH AMERICAN ASSOCIATION               )
10
     OF VISIONARY CHURCHES,                   ) PROOF OF SERVICE ON
                                              ) DEFENDANT THE UNITED
                   Plaintiffs,                )
                                              ) STATES OF AMERICA AND
11

12          vs.                               ) ADMINISTRATIVE AGENCIES
                                              )
13   WILLIAM BARR, Attorney General of ) CMC: August 11, 2020
14
     the United States; UTTAM DHILLON, ) Time: 2:00 p.m.
     Acting Administrator of the U.S. Drug    )                   th
15   Enforcement Administration; CHAD F. ) Courtroom: 2, 17 Floor
     WOLF, Acting Secretary of the Dept. of )
16   Homeland Security; MARK A.               )
     MORGAN, Acting Commissioner of U.S. )
17   Customs and Border Protection;           )
18
     THOMAS PREVOZNIK, Deputy                 )
     Assistant Administrator of the DEA Dept. )
19   of Diversion Control, in his personal    )
     capacity; and, the UNITED STATES OF )
20   AMERICA,                                 )
                                              )
21                 Defendants.                )
22
                                              )
                                              )
23

24   Charles Carreon declares and affirms:
25          I am an attorney licensed to practice before all courts in the State of California and
26   a member of the bar of this Court. I state the matters herein of personal knowledge. If
27   called as a witness, I could and would so competently testify.
28

                         _________________________________________________________
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 1          1.     This is an action against the United States of America and certain of its
 2
     administrative agencies. All named defendants are sued in their capacities as cabinet-
 3
     level administrative agency directors (the “Government defendants”), except for Thomas
 4
     Prevoznik, a Drug Enforcement Agency attorney who is sued in his personal capacity.
 5
            2.     This declaration is submitted to certify that process has been served on the
 6
     Government defendants in compliance with F.R.Civ.P. 4(i), and sets forth all actions
 7
     taken by your Declarant to effect service pursuant to Rule 4(i), directly and through the
 8
     agency of registered process servers in the Northern District of California and
 9
     Washington D.C. Affidavits of service and attempted service, as well as postal receipts
10
     for certified mail deliveries to named defendants, are attached hereto as Exhibits 1 – 6,
11

12
     and described in full detail hereinbelow.

13
            3.     F.R.Civ.P. 4(i) provides in relevant part:

14          Serving the United States and Its Agencies, Corporations, Officers, or
            Employees.
15          (1) United States. To serve the United States, a party must:
16          (A)(i) deliver a copy of the summons and of the complaint to the United
            States attorney for the district where the action is brought—or to an
17          assistant United States attorney or clerical employee whom the United
            States attorney designates in a writing filed with the court clerk—or
18
            (ii) send a copy of each by registered or certified mail to the civil-process
19          clerk at the United States attorney's office;
20          (B) send a copy of each by registered or certified mail to the Attorney
            General of the United States at Washington, D.C.; and
21          (C) if the action challenges an order of a nonparty agency or officer of the
22
            United States, send a copy of each by registered or certified mail to the
            agency or officer.
23          (2) Agency; Corporation; Officer or Employee Sued in an Official
            Capacity. To serve a United States agency or corporation, or a United
24
            States officer or employee sued only in an official capacity, a party must
25
            serve the United States and also send a copy of the summons and of the
            complaint by registered or certified mail to the agency, corporation, officer,
26          or employee.
            (3) Officer or Employee Sued Individually. To serve a United States officer
27
            or employee sued in an individual capacity for an act or omission occurring
28
            in connection with duties performed on the United States’ behalf (whether
            or not the officer or employee is also sued in an official capacity), a party
                         _________________________________________________________
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 1            must serve the United States and also serve the officer or employee
 2
              under Rule 4(e), (f), or (g).
              4.    Regarding the service of Government defendants, the United States
 3
     Department of Justice Civil Resource Manual (the “Justice Manual”)1 provides:
 4
              Service upon an officer, sued in his/her official capacity, or upon an agency
 5            or corporation of the United States is accomplished by serving the United
 6
              States, and by sending a copy of the summons and of the complaint by
              registered or certified mail to the officer, agency, or corporation. See Fed.
 7            R. Civ. P. 4(i)(2); 28 U.S.C. § 1391(e)(3). In addition, 28 U.S.C. §
              1391(e)(3) permits service of an officer or agency by certified mail beyond
 8            the territorial limits of the jurisdiction in which the action is brought,
              notwithstanding    Fed. R. Civ. P. 4(k), if the official is suable in the District
 9            of Columbia.2
10            5.      To comply with the requirements of Rule 4(i), your declarant prepared

11   hardcopies of all case-initiating documents, court rules and orders, and plaintiff’s filings
12   since the case was commenced, and combined the same into “Service Packets,” each of
13   which contained one of each of the following documents:
14            a.       Summons in a Civil Action
15            b.       Complaint
16            c.       Civil Cover Sheet
17
              d.       Certificate and Notice of Interested Parties
18
              e.       Declination to Magistrate Judge Jurisdiction
19
              f.       Consent or Declination to Magistrate Judge Jurisdiction (blank)
20
              g.       Civil Standing Order from Magistrate Judge Thomas S. Hixson
21
              h.       Discovery Standing Order from Magistrate Judge Thomas S. Hixson
22
              i.       Notice of a Lawsuit and Request to Waive Service of a Summons
23
              j.       Waiver of Service of Summons
24
              k.       ECF Registration Information
25
              l.       Order Reassigning Case
26

27   1
         https://www.justice.gov/jm/justice-manual
28   2
      Section 44, Justice Manual, “Service on Government Officers in Official Capacity, Agencies.”
     (Case citations omitted.) https://www.justice.gov/jm/civil-resource-manual-44-service
                           _________________________________________________________
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 1          m.     Notice of Eligibility for Video Recording
 2
            n.     Case Management Conference Order
 3
            o.     Order Setting Initial Case Management Conference and ADR Deadlines
 4
            p.     Judge Orrick’s Standing Order on Administrative Motions to File Under
 5
     Seal
 6
            q.     Judge Orrick’s Standing Order for Civil Cases
 7
            6.     Plaintiff personally served the U.S. Attorney for the Northern District of
 8
     California in compliance with Rule 4(i)(1)(A)(i), as recorded in Exhibit 1 hereto, a true
 9
     and correct copy of the proof of service executed by Gregory B. King, evidencing his
10
     delivery of a Service Packet to AUSA Wendy Garbers on May 22, 2020.
11

12
            7.     Plaintiffs served the United States of America by personally delivering a

13
     Service Packet to the Civil Process Clerk of the United States Attorney’s Office, in

14   compliance with Rule 4(i)(A)(ii), as evidenced by the affidavit of Henry Jessup, a true

15   and correct copy of which is attached as Exhibit 2, and by mailing a copy of the Service
16   Packet to the Attorney General, certified mail, in compliance with Rule 4(i)(B), as
17   evidenced by the second page of Exhibit 2.
18          8.     Plaintiffs served the United States Department of Justice by first attempting
19   personal service of the Service Packet at Attorney General William Barr’s regular place
20   of business on May 21, 2020, which was rejected due to Covid-19 precautions, as averred
21
     in the affidavit of attempted service attached as page one of Exhibit 3. The Government
22
     directed the process server to serve the Service Packet via certified mail at 950
23
     Pennsylvania Ave. NW, Washington, D.C. 20530. The Service Packet was posted on
24
     May 26, 2020, at your declarant’s direction, by Same Day Process Service of
25
     Washington, D.C., as evidenced by the Supplemental Data recording the mailing on page
26
     one of Exhibit 3, and the certified mail receipt attached as the second page of Exhibit 3.
27
            9.     Plaintiffs served the Drug Enforcement Administration by first attempting
28
     personal service of the Service Packet on Acting Administrator Uttam Dhillon at his
                         _________________________________________________________
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 1   regular place of business on May 21, 2020, which was rejected due to Covid-19
 2
     precautions, as averred in the affidavit of attempted service attached as page one of
 3
     Exhibit 4. The Government directed the process server to serve the Service Packet via
 4
     certified mail at 800 K Street NW, # 500, Washington, D.C. 20001. The Service Packet
 5
     was posted to that address on May 26, 2020, at your declarant’s direction, by Same Day
 6
     Process Service of Washington, D.C., as evidenced by the Supplemental Data recording
 7
     the mailing on page one of Exhibit 4, and the certified mail receipt attached as the second
 8
     page of Exhibit 4.
 9
            10.    Plaintiffs served the Department of Homeland Security by first attempting
10
     personal service of the Service Packet on Acting Secretary Chad F. Wolf at his regular
11

12
     place of business on May 21, 2020, which was rejected due to Covid-19 precautions, as

13
     averred in the affidavit of attempted service attached as page one of Exhibit 5. The

14   Government directed the process server to serve the Service Packet via certified mail at

15   Office of the General Counsel, U.S. Department of Homeland Security, 2707 Martin
16   Luther King Jr. Ave., SE, Washington, DC 20428-0485. The Service Packet was posted
17   to that address on May 26, 2020, at your declarant’s direction, by Same Day Process
18   Service of Washington, D.C., as evidenced by the Supplemental Data recording the
19   mailing on page one of Exhibit 5, and the certified mail receipt attached as the second
20   page of Exhibit 5.
21
            11.    Plaintiffs served the Drug Enforcement Administration by first attempting
22
     personal service of the Service Packet on Acting Commissioner Mark A. Morgan at his
23
     regular place of business on May 21, 2020, which was rejected due to Covid-19
24
     precautions, as averred in the affidavit of attempted service attached as page one of
25
     Exhibit 6. The Government directed the process server to serve the Service Packet via
26
     certified mail at 1300 Pennsylvania Ave. NW, Washington, D.C. 20229. The Service
27
     Packet was posted to that address on May 26, 2020, at your declarant’s direction, by
28
     Same Day Process Service of Washington, D.C., as evidenced by the Supplemental Data
                          _________________________________________________________
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 1   recording the mailing on page one of Exhibit 6, and the certified mail receipt attached as
 2
     the second page of Exhibit 6.
 3
            12.     Plaintiffs have not yet served defendant Thomas Prevoznik, a DEA
 4
     employee named in his personal capacity. Plaintiffs will separately file a proof of service
 5
     regarding the said defendant.
 6

 7
            I declare and affirm, pursuant to 28 U.S.C. § 1746(2), that the foregoing is true
 8
     and correct under the law of the United States of America, and that this declaration was
 9
     signed on June 3, 2020, at Tucson, Arizona.
10
                                         /s/Charles Carreon
11
                                      Charles Carreon, Declarant
12

13
            .
14

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                          _________________________________________________________
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